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FILED By eth Joc.

FEB 02 2022
ANGELA E. NOBLE

CLERK U.S. DIST. CT.
S. D. OF FLA. - FT. PIERCE

 

 

 

 

 

Court Name: SOUTHERN DISTRICT OF FLORIDA
Division: 2
Receipt Number: FLSeHaaaedée
Cashier ID: scarlson
Transaction Date: @2/i2/2Her
Payer Name: Hetty R Sylvestre
ACCT RECY PAYRENT
For: Retty R Sylvestre
Case/Farty: D- L5-2-21-CV-014495-081
Amount: $20, 08

CHECK
Remitter: Ketty kK. Sylvestre
Check/Noney Order Hum: 11?
Amt Tendered: $20.08

Total Due: $20, 48
Total Tendered: $20.00
Change Amt: $0.08

PEEP of $28.00 paid by Betty R
Sylvestre
2s2l-ey-14495-ANC

 

 

 

 

 

 

Returned check fee #53

Checks and drafts are accepted
subject to collection and full
eradit will only be given when the
check or draft has been accepted Y
then financial institution on whic
it was drawn.
